Case 1:23-cr-00174-RBW Document 40 Filed 05/23/23 Page1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 23-174 (RBW)
JESSE WESTON,
Defendant.
)
ORDER

In accordance with the oral rulings issued by the Court at the arraignment and status
hearing held on May 22, 2023, it is hereby

ORDERED that, on August 3, 2023, at 12:00 p.m., the parties shall appear before the
Court for a status hearing via videoconference. It is further

ORDERED that, with the consent of the government and the defendant, the time from
May 22, 2023, until the status hearing scheduled for August 3, 2023, is excluded under the

Speedy Trial Act, so that the parties may continue to engage in plea discussions.

REGGIE B. WALTON
United States District Judge

SO ORDERED this 23rd day of May, 2023.
